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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division


UNITED STATES OF AMERICA                      )
                                              )
               v.                             )      Criminal No. 1:18-CR-457 (AJT)
                                              )
BIJAN RAFIEKIAN, et al.                       )
                                              )
                       Defendants.            )



   GOVERNMENT’S BRIEF ON CONTESTED PROPOSED JURY INSTRUCTIONS

        The Government files this brief pursuant to the Court’s Trial Order to state its objections

to the following instructions proposed by the Defendants.

   I.      Defendant’s Proposed Instruction No. 11, 14, 33, 40, 45, 46, 47, 51 and 57

        The Government objects to Defendant’s proposed jury instructions numbers 11, 14, 33, 40,

45, 46, 47, 51 and 57 cited as “modifications” to O’Malley, Greenig and Lee’s “Federal Jury

Practice and Instruction,” 6th ed. 2015. In “modifying” these instructions, they have inserted

language and deleted key paragraphs such that the original character and intent of the instructions

no longer exist. For example, in Defendant’s proposed instruction number 45 “Conspiracy—

Existence of an Agreement,” the first sentence in the standard instruction reads “The government

must prove that Defendant and at least one other person knowingly and deliberately arrived at an

agreement or understanding that they…” The Defendant inserted the phrase “as to each defendant”

at the beginning of that sentence, improperly instructing the jury that the Government must prove

elements as to a co-defendant who is not currently on trial, adding elements and raising the burden.

        The defendant also deletes the entire fourth paragraph from the standard instruction which

creates a balanced and fair instruction for both sides. The deleted paragraph from the original
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instruction reads:

         To prove the existence of a conspiracy or an illegal agreement, the government is
         not required to produce a written contract between the parties or even produce
         evidence of an express oral agreement spelling out all of the details of the
         understanding. To prove that a conspiracy existed, moreover, the government is not
         required to show that all of the people named in the indictment as members of the
         conspiracy were, in fact, parties to the agreement, or that all of the members of the
         alleged conspiracy were named or charged, or that all of the people whom the
         evidence shows were actually members of a conspiracy agreed to all of the means
         or methods set out in the indictment.

         2 Fed. Jury Prac. & Instr. § 31:04 (6th ed.).

         Additionally, the Defendant inserts additional language in the last sentence of the charge

which improperly instructs the jury on the law of conspiracy.

   These are not mere “modifications” of the “Federal Jury Practice and Instruction” text, but

rather, new instructions entirely that are not supported by another recognized source. This pattern

continues with the other instructions numbers 11, 14, 33, 40, 46, 47, 51 and 57. As such, these

instructions should be excluded and the Government proposes using the original, unaltered

instructions on the same topics from “Federal Jury Practice and Instructions” by O’Malley,

Grening and Lee (6th ed. 2015), which are appropriate as written, and have routinely been found

to be proper and appropriate by the Fourth Circuit among other appellate courts.

   II.      Defendant’s Proposed Instructions Nos. 30 and 31

   The Government objects to Defendant’s proposed Instructions numbers 30 and 31 “Absence

of a Witness” and “Absence of a Witness—Michael Flynn.” A missing witness instruction only

is appropriate where a witness is available to one party but not the other. Since that is not the

case here, the defendant is not entitled to such an instruction either generally, or as to Michael

Flynn. Additionally, the last paragraph of number 31 that begins "If you believe it is peculiarly

within the power of the government to produce Michael Flynn . . ." which is an inaccurate

statement that leaves the jury with inaccurate impression that the defense does not have subpoena
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power. In fact, the defense has already issued trial subpoenas to a number of government

witnesses, and they would have no difficulty in issuing a subpoena to Michael Flynn. Since it is

within the power of either party produce Mr. Flynn, Proposed Instruction No. 31 is an inaccurate

state of the law, is misleading, and should not be an instruction to the jury. Finally, the

instruction is also a specific comment on the weight of the evidence and is inappropriate.

    III.    Defendant’s Proposed Instruction No. 42

    The Government objects to Defendant’s proposed Instruction number 42 “Advice of Counsel.”

The 4th Circuit has held that if a charge does not require proof of specific intent, the defendant is

not entitled to an instruction on the defense of advice of counsel. United States v. Lord, 710 F.

Supp. 615, 617 (E.D. Va. 1989), aff'd, 902 F.2d 1567 (4th Cir. 1990). Additionally, in order to

qualify for an advice of counsel instruction, a defendant must have fully disclosed material and

relevant facts to his attorney, which the Defendant did not. A defendant cannot lie to his lawyer or

omit relevant facts and then claim he relied on his lawyer’s advice as an affirmative defense. As

such, he is not entitled to such an instruction.

    IV.     Defendant’s Proposed Instruction No. 50

    The Government objects to Defendant’s proposed instruction number 50 “Single or multiple

conspiracies.” This is an instruction only to be given when required by the evidence. The

indictment alleges only one conspiracy with multiple objects and not multiple, separate

conspiracies. An instruction as to that is unnecessarily confusing and not supported by any facts

to be offered at trial.

    V.      Defendants’ Proposed Instruction No 52

    The Government objects to Defendant’s proposed instruction number 52 “Essential Elements

of the Offense Charged” as it adds in elements that the Government is not required to prove at
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trial. The third element added in by the Defendant should be deleted; the registration requirement

isn't a separate element it is the consequence of the first two elements being satisfied. The fifth

element added in by the Defendant has no basis in the text of the statute.

   The first element of the offense should be: "The Defendant agreed to operate within the United

States subject to the direction or control of a foreign government, in this case, the government of

Turkey." The second element should be: "The Defendant was not engaged solely in a legal

commercial transaction." The third element should be: “The defendant failed to notify the

Attorney General that he would be acting in the United States as an agent of the government of

Turkey.”

   VI.     Defendants’ Proposed Instruction No 53

   The Government objects to Defendant’s proposed instruction number 53 “Agent Defined” as

the instruction mistakes the law as to “legal commercial transaction” and as to the jury’s

requirement of unanimity on the overt acts performed by the Defendant as an agent of Turkey.

   VII.    Defendants’ Proposed Instruction No 54

   The Government objects to the Defendant’s proposed instruction number 54 “Legal

Commercial Transaction Defined.” The first sentence of the instruction should be: "The term

'agent of a foreign government' does not include any person who is engaged in a 'legal commercial

transaction.'" The penultimate sentence is not a correct statement of the law and should be deleted.

It is not required that defendant be "engaged in a commercial activity." A proposed statutory

definition of “Legal Commercial Transaction is as follows, which is taken directly from the C.F.R.

regulation which provides definitions for Title 18 U.S.C. § 951:

   The term legal commercial transaction, for the purpose of 18 U.S.C. 951(d)(4), means
   any exchange, transfer, purchase or sale, of any commodity, service or property of any
   kind, including information or intellectual property, not prohibited by federal or state
   legislation or implementing regulations.
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  28 C.F.R. § 73.1(f).


  VIII.    Defendants’ Proposed Instruction No 55

      The Government objects to Defendant’s proposed instruction number 55 “Knowingly

  Defined.” Such an application of a mental state does not have any basis in the text of the statute,

  and the cases cited by the efense do not interpret this particular statute. It is a misapplication

  of criminal intent entirely and attempts to turn a general intent crime into a specific intent

  crime.


                                           CONCLUSION

For the foregoing reasons, the                         Respectfully submitted,
government respectfully requests that
the Court use the standard jury                        G. ZACHARY TERWILLIGER
instructions for Defendant’s 11, 14, 30,               UNITED STATES ATTORNEY
31, 33, 40, 45, 46, 47, 51 and 57 and
exclude Defendant’s 42, 50, 52, 53, 54,
and 55.                                          By:                /s/
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